




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS






JALAL BAYAR NOORZAIE,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-06-00286-CR



Appeal from the


County Court at Law No. 6

of Collin County, Texas


(TC# 006-88837-05)




MEMORANDUM  OPINION


	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.2(a).  As required by that rule, the withdrawal of the notice of appeal is signed by
Appellant.  Further, the Clerk of this Court has forwarded a duplicate copy of the written withdrawal
to the clerk of the trial court.  Because Appellant has established compliance with the requirements
of Rule 42.2(a), we grant the motion and dismiss the appeal.


April 19, 2007					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


